Case 1:16-cv-00267-DBH Document 1 Filed 05/31/16 Page 1 of 7                         PageID #: 1




                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE



ERICA DUBOIS of the Town of Bradford,                 )
State of Maine,                                       )
                                                      )
               Plaintiff                              )
                                                      )
V.                                                    )
                                                      )
CITY OF BANGOR, MAINE                                 )       CIVIL ACTION NO.
                                                      )
and                                                   )
                                                      )
BANGOR, MAINE POLICE DEPARTMENT                       )       COMPLAINT
                                                      )       JURY TRIAL DEMANDED
and                                                   )
                                                      )
OFFICER KEITH LARBY                                   )
Bangor, Maine Police Department                       )
                                                      )
              Defendants                              )




       Plaintiff Erica Dubois, by and through her undersigned attorneys, hereby files suit

against the above-captioned Defendants, and in support thereof, states as follows.



                                JURISDICTION AND VENUE

1.     This Court has jurisdiction over this action against the Defendants pursuant to 42 U.S.C.

       §1983 as well as 28 U.S.C. § 1331. This Court has jurisdiction over the pendant state law

       tort claims pursuant to 28 U.S.C. §1367(a).

2.     Venue is properly vested in this Court because Plaintiff and the Defendants are residents




                                                1
Case 1:16-cv-00267-DBH Document 1 Filed 05/31/16 Page 2 of 7                       PageID #: 2




     of this District and the acts complained of occurred within the jurisdiction of this District

     (specifically, Penobscot County, Maine).



                                          PARTIES

3.   Plaintiff Erica Dubois is an individual and a resident of this District.

4.   Defendant City of Bangor, Maine is a city situated in the State of Maine, organized as such

     under the laws of the State. At all relevant times hereto, the said City of Bangor, Maine

     acted by and through its agents, servants and/or employees. It is responsible for the

     policies, procedures, practices and customs created, promulgated, implemented and

     enforced at the Bangor, Maine Police Department, through its various agencies, agents,

     departments, representatives, officials, and/or employees.

5.   Defendant Bangor, Maine Police Department is a police department in the State of Maine,

     duly organized as such under the laws of the State. At all relevant times hereto, the said

     Defendant Bangor, Maine Police Department acted by and through its agents, servants

     and/or employees. It is responsible for the policies, procedures, practices and customs

     created, promulgated, implemented and enforced at the Bangor, Maine Police Department,

     through its various agencies, agents, departments, representatives, officials, and/or

     employees.

6.   Upon information and belief, Defendant Officer Keith Larby is and was at times relevant

     an officer employed by the Bangor Police Department. Defendant Larby is sued here

     individually and in his capacity as an officer of the Bangor Police Department.




                                               2
Case 1:16-cv-00267-DBH Document 1 Filed 05/31/16 Page 3 of 7                          PageID #: 3




                                 FACTUAL BACKGROUND

7.    Plaintiff incorporates by reference all of the above paragraphs as if set forth fully herein.

8.    On December 10, 2015, Plaintiff was a passenger, together with two other passengers, in

      a motor vehicle operated by non-party James Cook.

9.    At approximately 10:30 p.m. on that date, the Cook-operated vehicle crashed after being

      engaged in a high-speed chase with a Bangor Police Department vehicle operated by

      Defendant Larby.

10.   Defendant Larby had initiated and maintained the high-speed pursuit after Cook had

      failed to stop due to an alleged equipment violation.

11.   Defendant Larby had pursued the high-speed chase along a dangerous road in a

      residential area, despite dark, foggy and wet-road conditions.

12.   The conduct of Defendant Larby violated extant and governing policies and rules which

      prohibited the initiation and maintaining of a high-speed pursuit in circumstances such as

      those in this case.

13.   As set forth above and herein, the conduct of Defendant Larby was negligent in the

      operation of his vehicle, in violation of due care owed to Plaintiff Dubois and others.

14.   At all times relevant, Plaintiff Dubois conducted herself with due care.

15.   As set forth above and herein, the conduct of Defendant Larby violated Plaintiff

      Dubois’ constitutional rights as guaranteed by the United States Constitution, and as

      remediable pursuant to 42 U.S.C. §1983.

16.   At all times relevant hereto, Defendant Larby acted under the color and guise of state and

      local laws.




                                                 3
Case 1:16-cv-00267-DBH Document 1 Filed 05/31/16 Page 4 of 7                            PageID #: 4




17.   The conduct of Defendant Larby as set forth above and herein, acting under the color and guise

      of state and local law, was recklessly and deliberately indifferent to the safety, bodily

      integrity, well-being, and life of Plaintiff Dubois and others, and was committed in conscious

      disregard of the substantial and/or unjustifiable risk of causing harm to Plaintiff Dubois

      and others, and was so egregious as to shock the conscience.

18.   As a direct and proximate result of Defendant Larby’s conduct, as described above and

      herein, Plaintiff Dubois was caused to suffer grievous physical injuries.



                                 COUNT I
                VIOLATION OF PLAINTIFF DUBOIS’ CIVIL RIGHTS
                    (VIOLATION OF 42 U.S.C. SECTION 1983)


19.   Plaintiff incorporates by reference all of the above paragraphs as if set forth fully

      herein.

20.   By reason of the foregoing, Defendant Larby has violated the civil rights of Plaintiff

      Dubois.

      WHEREFORE, Plaintiff demands judgment against Defendant Larby for compensatory

      damages, for her attorney’s fees and costs far in excess of the minimum jurisdictional

      threshold of this Court and such other relief as this Court deems just and for a trial by jury

      on all issues so triable as a matter of right.



                                           COUNT II
                                         NEGLIGENCE

21.   Plaintiff incorporates by reference all of the above paragraphs as if set forth fully herein.




                                                  4
Case 1:16-cv-00267-DBH Document 1 Filed 05/31/16 Page 5 of 7                           PageID #: 5




22.   Defendant Larby at all times relevant owed a duty of due care to Plaintiff Dubois and to

      others including, without limitation upon the generality of the foregoing, not to initiate and

      pursue a dangerous high-speed chase for an alleged equipment violation.

23.   Defendant Larby breached his duty of due care owed to Plaintiff Dubois.

      WHEREFORE, Plaintiff demands judgment against Defendant Larby, for compensatory

      damages, for her attorney’s fees and costs far in excess of the minimum jurisdictional

      threshold of this Court and such other relief as this Court deems just and for a trial by jury

      on all issues so triable as a matter of right.



                                COUNT III
                FAILURE TO TRAIN AND SUPERVISE PERSONNEL
                  VIOLATION OF CIVIL RIGHTS/NEGLIGENCE


24.   Plaintiff incorporates by reference all of the above paragraphs as if set forth fully herein.

25.   The violations of Plaintiff Dubois’ substantive constitutional rights and/or the negligence

      of Defendant Larby, and Plaintiff Dubois’ resulting catastrophic injuries, were caused, in

      whole or part, by Defendants’ Bangor and Bangor Police Department’s failure(s) to

      properly supervise, educate, instruct, train, educate and/or control their personnel in

      general, as well as in the following specific respect, failing to adequately supervise,

      instruct, train, educate and/or control their officers in regard to the appropriateness

      of high-speed pursuits and when and under circumstances and by what means and

      limitations such high-speed pursuits may legally proceed.

26.   The above-referenced failures of Defendants Bangor and Bangor Police Department

      directly and proximately led to the injuries and suffering of Plaintiff Dubois.




                                                 5
Case 1:16-cv-00267-DBH Document 1 Filed 05/31/16 Page 6 of 7                         PageID #: 6




      WHEREFORE, Plaintiff demands judgment against Defendants Bangor and Bangor Police

      Department, jointly and severally, for compensatory damages, for her attorney’s fees and

      costs far in excess of the minimum jurisdictional threshold of this Court and such other

      relief as this Court deems just and for a trial by jury on all issues so triable as a matter of

      right.



                                      COUNT IV
                                RESPONDEAT SUPERIOR
                               AND VICARIOUS LIABILITY


27.   Plaintiff incorporates by reference the above referenced paragraphs as if set forth fully

      herein.

28.   In committing the actions and/or omissions described above and herein, Defendant Larby was

      acting, at all relevant times, within the course and scope of his employment for

      Defendants Bangor and Bangor Police Department.

29.   The said Defendants City of Bangor and Bangor Police Department are liable as principals

      for all torts committed by their respective agents and/or employees upon Plaintiff Dubois.

               WHEREFORE, Plaintiff demands judgment against Defendants City of Bangor and

      Bangor Police Department jointly and severally, for compensatory damages, for her

      attorney’s fees and costs far in excess of the minimum jurisdictional threshold of this Court

      and such other relief as this Court deems just and for a trial by jury on all issues so

      triable as a matter of right.




                                                6
Case 1:16-cv-00267-DBH Document 1 Filed 05/31/16 Page 7 of 7                  PageID #: 7




Dated at Lewiston, Maine this 31st day of May, 2016.



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                                            7
